              Case 2:07-cr-00511-MCE Document 22 Filed 07/23/08 Page 1 of 2


1    DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
2    117 J Street, Suite 202
     Sacramento, California 95814-2282
3    916-447-1193
4    Attorney for Defendant
     MARCUS DION BURRELL
5
6
7
8
                               IN THE UNITED STATES DISTRICT COURT
9
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA, )                  No. 2:07-cr-00511 MCE
                                   )
13                                 )              STIPULATION AND
                       Plaintiff,  )              PROPOSED ORDER
14                                 )              CONTINUING STATUS
           v.                      )              CONFERENCE
15                                 )
     MARCUS DION BURRELL,          )
16                                 )
                       Defendant,  )
17                                 )
     ______________________________)
18
19          It is hereby stipulated and agreed to between Marcus Dion Burrell and Michael Anthony
20   Young, by and through counsel respective counsel Dwight M. Samuel and Mike Bigelow, and
21   United States of America, by and through, Assistant United States Attorney, that the status
22   conference presently set for Thursday, July 3, 2008 at 9:00 a.m. be vacated and rescheduled for a
23   status conference on Thursday, August 7, 2008, at 9:00 a.m.
24          It is further stipulated that the period from July 3, 2008, through and including August 7,
25   2008 be excluded in computing the time within which trial must commence under the Speedy
26   Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-4 for continuity and
27   preparation of counsel.
28
                 Case 2:07-cr-00511-MCE Document 22 Filed 07/23/08 Page 2 of 2


1    Respectfully submitted,
2
3    Dated: July 1, 2008
4                                                           /s/ Dwight M. Samuel
                                                            DWIGHT M. SAMUEL
5                                                           Attorney for Defendant, Marcus Burrell
6    Dated: July 1, 2008
7                                                           /s/ Michael Bigelow1
                                                            MICHAEL BIGELOW
8                                                           Attorney for Defendant, Michael Young
     Dated: July 1, 2008
9
10
                                                            /s/ Carolyn Delaney2
11                                                          CAROLYN DELANEY
                                                            Assistant United States Attorney
12
13
14   IT IS SO ORDERED.
15
      Dated:         July 22, 2008
16
                                                       ________________________________
17                                                     MORRISON C. ENGLAND, JR.
                                                       UNITED STATES DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27          1
                Signed per telephonic authorization.

28          2
                Signed per telephonic authorization.
